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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ALAN HERZ,
                               Plaintiff,
                                                                   20-CV-2846 (JPO)
                     -v-
                                                                         ORDER
 CITY OF NEW YORK, et al.,
                         Defendants.


J. PAUL OETKEN, District Judge:

       This case was removed from New York Supreme Court, New York County, on April 6,

2020. Counsel for the plaintiff is directed to file an appearance with this Court no later than

April 27, 2020.

       Counsel for the defendants shall serve a copy of this order on counsel for the plaintiff by

April 20, 2020.

       SO ORDERED.

Dated: April 7, 2020
       New York, New York
                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge
